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                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


In re                                         )

RMS TITANIC, INC., et al.,                    )       Case No. 3:16-bk-2230-PMG

                       Debtors.               )       Chapter 11

___________________________________ )


         CREDITOR COMMITTEE’S OBJECTION TO EUCLID
   CLAIMS RECOVERY’S MOTION TO APPOINT CHAPTER 11 TRUSTEE


        The Official Committee of Unsecured Creditors (“Creditors’ Committee”) objects

to the motion of Euclid Claims Recovery LLC (“Euclid”) to appoint a chapter 11 trustee,

pursuant to Bankruptcy Code section 1104(a), and states:

                                    INTRODUCTION

        1.     Euclid sought the appointment of a trustee because it is dissatisfied that

the Debtors pursued a sale of substantially all of their assets, rather than selling just the

French artifacts through an auction house (Motion ¶¶26-30) and because professional

fees are too high (id. ¶¶21-25). The Debtors will be, in advance of the hearing on

Euclid’s motion, and following a robust marketing process, moving to sell substantially

all of their assets to a proposed stalking horse purchaser, at a price point that would not

yield sufficient proceeds to pay holders of allowed unsecured claims in full, after

payment of the Debtors’ DIP loan and administrative and priority claims. Euclid has

taken the position that that result is unacceptable and merits the appointment of a trustee,

given the Alasko appraisal valuing the Titanic artifacts owned by the Debtors at over
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$200 million and the Debtors’ prior representations that the sale of “just a small subset of

artifacts from the French collection” would yield proceeds sufficient to pay creditors in

full [ECF No. 28, ¶¶23-27]. See also Motion ¶30 (“auction-house sale of individual

French Artifacts … may represent the only means to achieve full payment to creditors at

this stage of the case”). The motion should be denied, as sections 1104(a)(1) and (2)

weigh against the appointment of a trustee for reasons set forth below.

                                       ARGUMENT

I.      LEGAL STANDARD FOR APPOINTMENT OF A CHAPTER 11
        TRUSTEE

        2.      Bankruptcy Code section 1104(a) provides for appointment of a chapter

11 trustee “(1) for cause, including fraud, dishonesty, incompetence, or gross

mismanagement of the affairs of the debtor[s] by current management … or (2) if such

appointment is in the best interests of creditors.”

        3.      “The burden is on the movant to prove that a trustee should be appointed

under § 1104(a).” In re López-Muñoz, 866 F.3d 487, 497 (1st Cir. 2017).

        4.      “Appointing a trustee in a Chapter 11 case is an ‘extraordinary’ remedy …

and there is a corresponding ‘strong presumption’” in favor of allowing debtors to remain

in possession. Official Committee of Unsecured Creditors of Cybergenics Corp. ex rel.

Cybergenics Corp. v. Chinery, 330 F.3d 548, 577 (3d Cir. 2003). In explaining why that

is, the Third Circuit stated:

        [A]ppointing a trustee amounts to replacing much of a debtor’s high-level
        management, and that creates immense costs in two ways. First, there is a
        statutory fee (which can be substantial) to which trustees are entitled for
        their services. See 11 U.S.C. §§ 326(a) (setting forth fee schedule), 330(a)
        (setting forth the trustee’s right to compensation); cf. 11 U.S.C. § 1107(a)
        (providing debtors-in-possession are not entitled to statutory trustee’s
        fees). More important, however, is the cost implicit in replacing current


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        management with a team that is less familiar with the debtor specifically
        and its market generally.

Id.

II.     EUCLID HAS NOT SATISFIED ITS BURDEN UNDER SECTION 1104(a)

        5.      The principal reason Euclid seeks the appointment of a trustee is because

it is dissatisfied that the Debtors are not selling the French artifacts, over which the

Maritime Court lacks in rem jurisdiction, through an auction house. The Debtors’

decision to sell substantially all of their assets rather than a portion thereof through an

auction house does not merit appointment of a trustee.

        6.      Euclid offers no explanation why the potential value that could be

achieved from a French artifact sale through an auction house would not be reflected in

the ultimate sale price for substantially all of the Debtors’ assets, whether to the proposed

stalking horse or an alternative purchaser. The Creditors’ Committee is unaware of any

case where a trustee has been appointed because the debtor in possession elected to sell

substantially all of its assets pursuant to section 363.

        7.      Significantly, appointment of a trustee at this juncture could have a major

adverse impact on creditor recoveries. That is so not just because appointment of a trustee

would effectively restart the sale process, which Euclid states has already gone on too

long (Motion ¶15). The resulting displacement of Debtors’ management could result in

the inability to continue to operate the exhibition business, particularly if followed by

employee departures. Inability to operate the exhibition business could, in turn, result in

a significant increase in administrative liabilities given payment obligations under the

Debtors’ exhibition leases. It could also trigger a default under the Revised Covenants

and Conditions (“Revised C&C”) imposed by the Maritime Court, R.M.S. Titanic, Inc. v.


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Wrecked and Abandoned Vessel, 742 F. Supp. 2d 784, 810 (E.D. Va. 2010), which

require that the Titanic artifacts, among other things, “be [made] available for public

display and exhibition” (Revised C&C § III.B), a condition the Debtors presently satisfy

through their exhibition business. Appointment of a trustee would also, of course, saddle

the Debtors’ estates with his or her statutory commission under section 326, in addition to

fees and expenses of his or her professionals, which would be payable on top of those

that have accrued to date.

       8.      Nor does Euclid address that a standalone French artifact sale could

violate the Revised C&Cs, if consummated without prior Maritime Court authorization.

Revised C&C § III.A provides “[t]he Subject TITANIC Artifact Collection [i.e.,

American artifacts] shall, to the maximum extent possible and consistent with reasonable

collections management practices, be conserved and curated together with the French

TITANIC Artifact Collection as an integral whole by the Trustee.” The default judgment

entered in the adversary proceeding against the Republic of France, determining France

has no interest in the French artifacts [ECF No. 67], did not modify that clause. The

Debtors presumed at the outset of these cases that they would get relief from it given the

absence of in rem jurisdiction over the French artifacts, as reflected in their representation

in the initial sale motion that they would sell certain French artifacts, but none of the

American artifacts [ECF No. 28, ¶25]. However, no such relief was sought from the

Maritime Court, nor was any granted.1




       1
               This past Friday the Equity Committee filed a plan that contemplates the
post-effective date sale of the French artifacts through an auction house, and the sale of
the American artifacts to a qualified successor trustee [ECF No. 1044 (“Disclosure
Statement”), p.3]. The accompanying Disclosure Statement recognizes that the Maritime
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       9.      Indeed, NOAA responded to Euclid’s motion by reserving its rights to

seek enforcement of this clause [ECF No. 1041].2

       10.     Should a trustee seek to sell the French artifacts through an auction house,

the associated marketing process (which has not yet begun) would take approximately

one year and the auction house’s commission would likely be at least 9% (Disclosure

Statement Ex. 2, Footnote 6; id. Ex. 4, Ex. A), on top of fees and expenses incurred to

date by estate professionals in these cases. That sale process would also likely result in

continued accrual of interest on a fully-drawn $5 million DIP loan pending a sale as well

as the need for additional financing (Disclosure Statement Ex. 2, Footnote 10).

       11.     In short, appointing a trustee at this juncture for the purpose of ensuring

that a French auction house sale strategy is pursued would shift tremendous risk to

creditors and delay payments to them, relative to simply completing the sale process,

which sets an acceptable floor for the sale of substantially all of the Debtors’ assets to a

proposed stalking horse purchaser whose bid would be subject to higher and better offers.



Court has not authorized the breakup of the collection (id. pp.7-9, 22-23) and so attributes
a value of “TBD” to the American artifacts in the liquidation analysis (id. Ex. 2).
       2
               The Equity Committee’s plan, which would implement the sale strategy
advocated by Euclid, contemplates seeking Maritime Court approval of a sale of the
American artifact collection [ECF No. 1045, § IX.A.(iii)] (such condition being waivable
in the Equity Committee’s sole discretion under Section IX.B). However, the Equity
Committee does not contemplate seeking prior Maritime Court approval of the
contemplated French artifact sale, and instead simply contemplates spending $500,000-
$1 million opposing efforts by NOAA to enforce Revised C&C § III.A (Disclosure
Statement Ex. 2). No provision is made in the event NOAA succeeds in its efforts to
enforce Section III.A, or obtains a stay of any French artifact sale (which stay would not
require a bond, under Rule 65(c)). The Equity Committee’s plan thus presumes success
in litigation against NOAA, or alternatively, that Section III.A (entered on consent
following negotiations between the Debtors and NOAA (742 F. Supp. at 793)) can be
breached without consequence to stakeholders.

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       12.     Appointment of a trustee is, accordingly, not in the interest of creditors

under section 1104(a)(2). Nor has Euclid otherwise articulated why cause for conversion

exists under section 1104(a)(1).

       WHEREFORE, Euclid’s motion for the appointment of a chapter 11 trustee

should be denied.

Dated: June 4, 2018                                 Jeffrey Chubak (admitted pro hac vice)
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                                   Certificate of Service


       I hereby certify that, on June 4, 2018, the foregoing was transmitted to the Court

for uploading to the Case Management/Electronic Case files (“CM/ECF”) System, which

will send a notice of electronic filing to all creditors and parties in interest who have

consented to receiving electronic notifications in this case.



                                                       /s/ Richard R. Thames
                                              ____________________________________
                                                                Attorney




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